64 F.3d 658
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Charles McCLINTON, Plaintiff--Appellant,v.MECKLENBURG COUNTY, a Municipal Corporation;  C.W. Kidd,Sheriff;  Julius Lloyd, Robert Samuels;  Alice Charagis;Gary Crocker;  Sandy Carter;  Charlotte Memorial HospitalAnd Medical Center;  An Unknown Female Dentist, Defendants--Appellees.
    No. 95-6669.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 25, 1995.Decided Aug. 14, 1995.
    
      David Charles McClinton, appellant pro se.  James Orr Cobb, Jr., RUFF, BOND, COBB, WADE &amp; MCNAIR, Charlotte, NC;  Deborah G. Casey, GOLDING, MEEKINS, HOLDEN, COSPER &amp; STILES, Charlotte, NC, for appellees.
      Before WILKINS, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  McClinton v. Mecklenburg Cnty., No. CA-93-91-3-MU (W.D.N.C. Apr. 4, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    